Case 1:14-cv-22657-DPG Document 32-2 Entered on FLSD Docket 09/17/2015 Page 1 of 7
   Case 1:14-cv-22657-DPG Document 32-2 Entered on FLSD Docket 09/17/2015 Page 2 of 7


Dustin Lo

From:                             Andrew M. Howard
Sent:                             Thursday, September 10, 2015 5:19 PM
To:                               Roozbeh Gorgin
Cc:                               curt@colson.com; Lauren Sliger; Dustin Lo; bhadaway@diazreus.com
Subject:                          RE: Case 1:14-cv-22657-DPG ROTHSCHILD STORAGE RETRIEVAL INNOVATIONS, LLC v.
                                  Nokia Corporation et al



I disagree, as stated below. Nokia has refused to participate in this case, and an indefinite stay after the IPR is
concluded is what is inefficient. We will need to get a scheduling order together to get this case in line with
the Motorola case. Nokia requires different treatment than the other defendants because it did not move for
a stay, but instead relied on the lack of a scheduling order to drag its feet.

Our opposition will note the same, what we agreed to, and explain that you are filing an opposed motion over
what should be an easy agreement. This is a waste of your client’s money and time. I will not further waste my
time preparing a joint scheduling report, because I will file my “opposition” before that deadline. Because it is
your decision to multiply these proceedings, I suggest you prepare a draft scheduling report for my review.

Thanks,

Andrew




Andrew M. Howard
ahoward@shorechan.com
Bank of America Plaza
901 Main Street, Suite 3300
Dallas, Texas 75202
214‐593‐9133 (Direct)
214‐593‐9110 (Firm)
214‐593‐9111 (Fax)

From: Roozbeh Gorgin [mailto:Roozbeh.Gorgin@ltlattorneys.com]
Sent: Thursday, September 10, 2015 5:11 PM
To: Andrew M. Howard
Cc: curt@colson.com; Lauren Sliger; Dustin Lo
Subject: RE: Case 1:14-cv-22657-DPG ROTHSCHILD STORAGE RETRIEVAL INNOVATIONS, LLC v. Nokia Corporation et
al

Andrew:

Requiring the parties to affirmatively request an additional stay during an appeal (or during the time an appeal may be
filed) creates unnecessary extra work and is not efficient. In addition, the SDFL or NDCA cases in which a stay has been
granted do not appear to contemplate requiring the parties to request a second stay during the appeal period. Since
RSRI will not agree to the stay as presented in the draft unopposed motion, we will move forward with filing a regular
                                                            1
     Case 1:14-cv-22657-DPG Document 32-2 Entered on FLSD Docket 09/17/2015 Page 3 of 7
motion. In light these circumstances, we will also need to prepare a joint scheduling report as required by LR 16.1 for
filing by September 25. Please send us a draft.

‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐
Regards,
Roozbeh Gorgin


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From: Andrew M. Howard [mailto:ahoward@ShoreChan.com]
Sent: Thursday, September 10, 2015 1:16 PM
To: Roozbeh Gorgin <Roozbeh.Gorgin@ltlattorneys.com>
Cc: curt@colson.com; Lauren Sliger <Lauren.Sliger@ltlattorneys.com>; Dustin Lo <dlo@ShoreChan.com>
Subject: RE: Case 1:14‐cv‐22657‐DPG ROTHSCHILD STORAGE RETRIEVAL INNOVATIONS, LLC v. Nokia Corporation et al

I am not okay with the draft motion, because it does not comply with my client’s requirements:
     The stay needs to be automatically lifted at the conclusion of the IPR, not an agreement to contact the
       court. The parties reserve the right to seek another stay in the event of an appeal. This requirement is
       necessary because of how long Nokia has waited to take any action in this case, and my client needs
       the opportunity to get this case on schedule as soon as the stay is lifted.
     Our non‐opposition must note that we do not agree with the contentions in your motion, but only
       that we do not oppose for interests of judicial and party economy. We have other comments to the
       rhetoric in your motion as well.
     You might also want to check with a Florida attorney regarding the form, because I’m not sure the
       form you have provided is appropriate.

Please let me know when these edits are made, and we will review another draft. If you circulate one
tomorrow, I will be out of town for a hearing but my colleague Dustin Lo (cc’d) can assist.

As a matter of practice, you are on notice that my silence will never be deemed consent to file any motion.

Thanks,

Andrew




Andrew M. Howard
ahoward@shorechan.com
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901 Main Street, Suite 3300
Dallas, Texas 75202
                                                            2
     Case 1:14-cv-22657-DPG Document 32-2 Entered on FLSD Docket 09/17/2015 Page 4 of 7
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From: Roozbeh Gorgin [mailto:Roozbeh.Gorgin@ltlattorneys.com]
Sent: Thursday, September 10, 2015 3:07 PM
To: Andrew M. Howard
Cc: curt@colson.com; Lauren Sliger
Subject: RE: Case 1:14-cv-22657-DPG ROTHSCHILD STORAGE RETRIEVAL INNOVATIONS, LLC v. Nokia Corporation et
al

Andrew:

Can you let me know when you get through with this. We would like to get this filed by tomorrow at the latest. Since
the motion complies with your requirements, if we do not hear from you by noon pacific time tomorrow we will assume
you are okay with the draft motion.

‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐
Regards,
Roozbeh Gorgin


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From: Roozbeh Gorgin
Sent: Wednesday, September 09, 2015 1:51 PM
To: 'Andrew M. Howard' <ahoward@ShoreChan.com>
Cc: curt@colson.com; Lauren Sliger <Lauren.Sliger@ltlattorneys.com>
Subject: RE: Case 1:14‐cv‐22657‐DPG ROTHSCHILD STORAGE RETRIEVAL INNOVATIONS, LLC v. Nokia Corporation et al

Andrew:

Please see Nokia’s Unopposed Motion to Stay per your request during the meet and confer. We have agreed to your
conditions as to: (1) the limited estoppel, and (2) the prompt notification to the court once the IPR proceedings
conclude. We have added a couple of things.

With respect to the notification, we have added that we will notify the court within 7 business days and request a status
conference.

With respect to your non‐opposition, we request you file a notice with the court within 3 business days of us filing the
motion notifying the court of your non‐opposition.

Please let us know if this is okay with you. We would like to get this done soon so as to avoid any additional work on a
schedule.

‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐
Regards,
Roozbeh Gorgin
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     Case 1:14-cv-22657-DPG Document 32-2 Entered on FLSD Docket 09/17/2015 Page 5 of 7


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From: Andrew M. Howard [mailto:ahoward@ShoreChan.com]
Sent: Wednesday, September 02, 2015 7:25 PM
To: Roozbeh Gorgin <Roozbeh.Gorgin@ltlattorneys.com>; mdiaz@diazreus.com; xzhao@diazreus.com
Cc: curt@colson.com; Lauren Sliger <Lauren.Sliger@ltlattorneys.com>
Subject: RE: Case 1:14‐cv‐22657‐DPG ROTHSCHILD STORAGE RETRIEVAL INNOVATIONS, LLC v. Nokia Corporation et al

11:00 CT?

From: Roozbeh Gorgin [mailto:Roozbeh.Gorgin@ltlattorneys.com]
Sent: Wednesday, September 2, 2015 5:31 PM
To: Andrew M. Howard <ahoward@ShoreChan.com>; mdiaz@diazreus.com; xzhao@diazreus.com
Cc: curt@colson.com; Lauren Sliger <Lauren.Sliger@ltlattorneys.com>
Subject: RE: Case 1:14‐cv‐22657‐DPG ROTHSCHILD STORAGE RETRIEVAL INNOVATIONS, LLC v. Nokia Corporation et al

Sure. Any specific time?

‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐
Regards,
Roozbeh Gorgin


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From: Andrew M. Howard [mailto:ahoward@ShoreChan.com]
Sent: Wednesday, September 02, 2015 3:29 PM
To: Roozbeh Gorgin <Roozbeh.Gorgin@ltlattorneys.com>; mdiaz@diazreus.com; xzhao@diazreus.com
Cc: curt@colson.com; Lauren Sliger <Lauren.Sliger@ltlattorneys.com>
Subject: RE: Case 1:14‐cv‐22657‐DPG ROTHSCHILD STORAGE RETRIEVAL INNOVATIONS, LLC v. Nokia Corporation et al

Roozbeh:

I'm out of the office tomorrow, but please give be a call on Friday.


-------- Original message --------
From: Roozbeh Gorgin <Roozbeh.Gorgin@ltlattorneys.com>
Date: 09/02/2015 5:21 PM (GMT-06:00)

                                                         4
     Case 1:14-cv-22657-DPG Document 32-2 Entered on FLSD Docket 09/17/2015 Page 6 of 7

To: "Andrew M. Howard" <ahoward@ShoreChan.com>, mdiaz@diazreus.com, xzhao@diazreus.com
Cc: curt@colson.com, Lauren Sliger <Lauren.Sliger@ltlattorneys.com>
Subject: RE: Case 1:14-cv-22657-DPG ROTHSCHILD STORAGE RETRIEVAL INNOVATIONS, LLC v.
Nokia Corporation et al

Counsel:



I am counsel for Nokia in the above referenced case. As you probably saw the court issued an order setting a
status conference today (Dkt. 30). In light of the court’s order, I wanted to reach out to you to see if your client
was agreeable to a stipulated stay in the Nokia case given that the other cases filed by your client (recited
below) against various defendants have been stayed pending IPR.



Rothchild Storage Retrieval Innovations, LLC v. Apple Inc., No. 3-15-cv-00541 (N.D. Cal.)

Rothschild Storage Retrieval Innovations, LLC v. Samsung Electronics Co., Ltd., et al, No. 3-15-cv-00539
(N.D. Cal.)

Rothchild Storage Retrieval Innovations, LLC. v. HTC Corporation et al., No. 3-15-cv-00373 (N.D. Cal.)

Rothschild Storage Retrieval Innovations, LLC v. Sony Mobile Communications (USA) Inc., No. 3-15-cv-
00234 (N.D. Cal.)

Rothschild Storage Retrieval Innovations, LLC v. LG Electronics Inc. et al, No. 5-15-cv-02500 (N.D. Cal.)

Rothchild Storage Retrieval Innovations, LLC. v. Motorola Mobility LLC, No. 1-14-cv-22659 (S.D. Fl.)



If your client is not agreeable to a stipulated stay, my client plans on moving for a motion to stay and therefore
would like to request (through this email) a meet and confer as required by Local Rule 7.1(a)(3) to discuss
issues related to a motion to stay. Please let me know when you are available for such a meeting if one is
necessary. We prefer to have one within the next two days (9/3 or 9/4) and are available anytime from 9am-
4pm Pacific Time.



-----------------------------------------

Regards,

Roozbeh Gorgin




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Lee Tran & Liang LLP
                                                          5
   Case 1:14-cv-22657-DPG Document 32-2 Entered on FLSD Docket 09/17/2015 Page 7 of 7
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